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                                                               United States Bankruptcy Court
                                                                           District of Nevada
                                                                                                                         21-14823-nmc
 In re      Fortem Resources, Inc.                                                                            Case No.
                                                                                    Debtor(s)                 Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Fortem Resources, Inc. in the above captioned action, certifies that the following is
a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
 Blue Phoenix Energy LLC
 1155 Blake Street, Suite 1002
 Denver, CO 80202
 Cede & Co.
 570 Washington Blvd.
 Jersey City, NJ 07310
 JM Magna Holdings LLC
 153 Sierra Court
 Maple ON L6A 2L8
 Canada
 MAB Resources Holdings LLC
 1155 Blake Street, Suite 1002
 Denver, CO 80202
 Pacific Petroleum LLC
 1503 Commercial Drive
 Vancouver BC V5L 3Y1
 Canada




 None [Check if applicable]




 October 13, 2021                                                      /s/ Brett A. Axelrod
 Date                                                                  Brett A. Axelrod 5859
                                                                       Signature of Attorney or Litigant
                                                                       Counsel for Fortem Resources, Inc.
                                                                       Fox Rothschild LLP
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                                                                       Las Vegas, NV 89135
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